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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                          CIVIL ACTION NO.___________
FUNimation ENTERTAINMENT,
            Plaintiff

v.                                                        JURY DEMAND

A.D. VISION, INC., JOHN ROBERT LEDFORD
II, AESIR HOLDINGS L.L.C., SXION 23 L.L.C.,
SERAPHIM STUDIOS, L.L.C., VALKYRIE
MEDIA PARTNERS, L.L.C., SENTAI
FILMWORKS, L.L.C., SENTAI HOLDINGS,
L.L.C., and UNIO MYSTICA HOLDINGS,
L.L.C., f/k/a UNIOMYSTICA, L.L.C. d/b/a
SWITCHBLADE PICTURES,
               Defendants.

A.D. VISION, INC.
             Third-party Plaintiff,

v.

FUNIMATION PRODUCTIONS, LTD.,
ANIMEOLINE, LTD., FUNIMATION GP, LLC,
FUNIMATION LP, LLC, FUNIMATION
HOLDINGS, LLC, ANIME HOLDINGS, LLC,
and GEN FUKUNAGA,
           Third-party Defendants.




          THIRD-PARTY DEFENDANTS’ NOTICE OF REMOVAL OF ACTION

TO THE UNITED STATES DISTRICT COURT:

         Third-Party   Defendants,    FUNimation   Productions,   Ltd.;   AnimeOnline,    Ltd.;

FUNimation GP, LLC; Anime Holdings, LLC; FUNimation LP, LLC; FUNimation Holdings,

LLC; and Gen Fukunaga, (herein “Third-Party Defendants”), in the above-styled matter, file this

Notice of Removal, pursuant to the provisions of 28 U.S.C. 1441 et seq.          Defendant-in-



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Counterclaim, FUNimation Entertainment (herein “FUNimation”) hereby consents to this

Removal. Accordingly it is submitted that:

        1.     On May 8, 2012, A.D. Vision, Inc. (“ADV”) and John Ledford (“Ledford”) filed

and served an Amended Answer, including an Original Counterclaim and Third-Party Claim

(“Counterclaim/Third Party Claim”) against FUNimation and Third-Party Defendants, in the

above-styled action then pending in the 151st Judicial District Court of Harris County, Texas, in

Cause No. 2011-67220.

        2.     Although this case was not removable when originally filed on November 4,

2011, it became removable on May 8, 2012, because of ADV’s Third-Party Claim. 28 U.S.C. §

1446(b); Sullivan v. Conway, 157 F.3d 1092, 1094 (7th Cir. 1998).

        3.     Specifically, ADV raises the question of whether Third-Party Defendants violated

the federal Sherman Act, at 15 U.S.C. §§ 1, 2, and 18.

        4.     Accordingly, this suit involves a federal question--whether Third-Party

Defendants violated the federal Sherman Act. As such, it is a civil action over which the District

Courts of the United States have original jurisdiction under 28 U.S.C. § 1331, and this action is

removable under 28 U.S.C. § 1441(b) et seq. See also, Grable & Sons Metal Prods., Inc. v.

Darue Eng’g & Mfg., 545 U.S. 308, 312 (2005).

        5.     This Notice of Removal is filed timely. Thirty (30) days has not elapsed since the

ADV first served any Third-Party Defendant with the Third-Party Claim.

        6.     All conditions and procedures for removal have been satisfied. A filing fee is

tendered herewith.

        7.     Copies of the docket sheet and all pleadings, process, orders and other filings in

the state-court suit are attached and incorporated by reference to this notice as required by 28



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U.S.C. §1446(a) and Local Rule 81 of the United States District Court for the Southern District

of Texas. (APPENDIX A).

        8.     A list of all counsel, including addresses, telephone numbers and parties

represented, is attached as required by Local Rule 81. (APPENDIX B).

        9.     Venue is proper in this district under 28 U.S.C. § 1441(a) because the state court

where the suit has been pending is located in this district.

        10.    Third-Party Defendants have given prompt written notice of this filing to all

parties and will promptly file a copy of the Notice of Filing of Removal with the Clerk of the

151st Judicial District Court of Harris County, as required by 28 U.S.C. § 1446(d).

        11.    As indicated above, FUNimation joins and consents Third-Party Defendants’

filing of this Removal.

        12.    FUNimation demanded a jury in the state-court suit and does not waive its

demand.

        Accordingly, Third-Party Defendants remove this action to this Court.




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                                     Respectfully submitted,

                                     By:    /s/ Lauren J. Harrison
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                                     ATTORNEYS FOR PLAINTIFF
                                     FUNIMATION ENTERTAINMENT AND
                                     THIRD-PARTY DEFENDANTS




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                              CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing instrument was
forwarded to all known counsel of record listed below via electronic notification through
the Court’s CM-ECF system on this 8th day of June, 2012.

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f/k/a UnioMystica, L.L.C. d/b/a
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                                                             /s/ Lauren J. Harrison
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